Case 1:21-cv-00643-RDA-IDD Document 54 Filed 12/13/21 Page 1 of 2 PageID# 497




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division


 MILLENNIUM FUNDING, INC., et al,
                                                   Civil Action No. 1:21-cv-00643-RDA-IDD
         Plaintiffs,

         v.

 SURFSHARK LTD et al.,

         Defendants.



                        NOTICE OF DISMISSAL WITH PREJUDICE

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i) and subject to the terms of a

confidential settlement between Plaintiffs MILLENNIUM FUNDING, INC., SCREEN MEDIA

VENTURES, LLC, VOLTAGE HOLDINGS, LLC, MILLENNIUM MEDIA, INC., PARADOX

STUDIOS,      LLC,     DALLAS    BUYERS       CLUB,   LLC,    WONDER       ONE,    LLC,    FW

PRODUCTIONS, LLC, MILLENNIUM IP, INC., I AM WRATH PRODUCTIONS, INC.,

FAMILY OF THE YEAR PRODUCTIONS, LLC, AMBI DISTRIBUTION CORP., KILLING

LINK DISTRIBUTION, LLC, BADHOUSE STUDIOS, LLC, LF2 PRODUCTIONS, INC., LHF

PRODUCTIONS, INC., LAUNDRY FILMS, INC., VENICE PI, LLC,                           RAMBO V

PRODUCTIONS, INC., SPEED KILLS PRODUCTIONS, INC., NIKOLA PRODUCTIONS,

INC., BODYGUARD PRODUCTIONS, INC., OUTPOST PRODUCTIONS, INC., HITMAN 2

PRODUCTIONS, INC. and MORGAN CREEK PRODUCTIONS, INC. (“Plaintiffs”) and

Defendant SURFSHARK LTD. (“Defendant Surfshark”), the Plaintiffs hereby dismiss all claims

against Defendant Surfshark with prejudice.


Dated December 13, 2021



21-cv-00643-RDA
Case 1:21-cv-00643-RDA-IDD Document 54 Filed 12/13/21 Page 2 of 2 PageID# 498




 /s/ Kerry S. Culpepper
 Kerry S. Culpepper, Esq.
 Virginia Bar No. 45292
 CULPEPPER IP, LLLC
 75-170 Hualalai Road, Suite B204
 Kailua-Kona, Hawai’i 96740
 Tel.: (808) 464-4047
 Fax.: (202) 204-5181
 Email: kculpepper@culpepperip.com
 Counsel for Plaintiffs




                                      2
